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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                                                                     N18 BEC 1 1 P 2: I 2
                                                                                    CEBRA P. HACKETT, CLK
                                                                                      U.S. DISTRICT COURT
TIMOTHY W.TARVER,                             ))                                     ,VIIDDLE PISTR1CT ALA

        Plaintiff,

        vs.
                                              )))                        c\I
SIBLEY G.REYNOLDS
                                                ))
        Defendant.
                                             ))
                                          COMPLAINT


        COMES NOW,Timothy Tarver,(Plaintiff), by and through undersigned counsel, and files

this coinplaint, pursuant to 42 U.S.C. § 1983, against the Honorable Sibley G. Reynolds,

(Defendant), acting under color oflaw as a judge in the Elmore County Circuit court, to redress

violations of certain protections guaranteed by the Fourteenth (14th)Amendment of the United

States Constitution, and deprivation ofproperty rights protected and secured under federal laws.

I.     INTRODUCTION

       1.      This is an action brought for declaratory judgment and equitable relief against the

Defendant in his official and individual capacities,to redress actions under color oflaw,to deprive,

deny and fail to confer the Plaintiff's rights and protections secured through the Fourteenth (14th)

Amendment and under Federal laws, as imparted to other United States and Alabama veterans in

similar and same situation. The Plaintiffis among the class ofpersons receiving benefits for whose

protection Congress enacted federal laws to specifically prohibit the Defendant's unlawful actions.




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        2.      This action seeks permanent injunction for any and all of the Defendant's official

 and individual actions related to the Plaintiff, in addition to, compensatoiy and punitive damages.

II.     JURISDICTION AND VENUE

        3.      Jurisdiction ofthis Court is invoked pursuant to 28 U.S.C. §§ 1331, 1343(a)(3)and

28 U.S.C. §§ 2201 and 2202.

        4.      The unlawful acts, omissions,events,injuries and related facts and practices alleged

 herein were committed by the Defendant within the 19th Judicial District of Alabama. Venue is

 proper in this Court pursuant to 28 U.S.C. § 1391(b).


 III.   PARTIES

        5.     The Plaintiff, Timothy Tarver,is a 100% disabled veteran and a resident of Mobile

County, Alabama.

        6.     The Defendant,Sibley Reynolds,is ajudge in the 191Judicial District ofAlabama,

Elmore County Circuit court and a resident ofthe State ofAlabama.

 IV.    STATEMENT OF FACTS

        7.     The facts below establish the Defendant's pattern ofactions,committed under color

oflaw, to deprive the Plaintiffof Constitutional and Federal rights.

        8.     On June 11, 2012, the Defendant entered final decree of divorce incorporating

Settlement Agreement which directly assigned 50% of the Plaintiffs Veterans Administration

(VA)disability to the Former Wife. (Exhibit 1, and Exhibit 2). Within that Settlement Agreement

is a provision that "the Husband shall assist the Wife in submitting to the appropriate governmental

agency[VA]those documents necessary to convey her interests as stated herein." (Exhibit.2 at ¶

14).



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        9.      On February 18, 2014,the Defendant modified terms ofthe Settlement Agreement

to require the Plaintiff to make direct payment of VA disability to the Former Wife.(Exhibit 3).

        10.     On December 17, 2014, the Defendant issued order of contempt and judgment of

the Plaintiffs VA disability as payment to the Former Wife.(Exhibit 4).

        11.     On January 12, 2015, the Defendant levied the Plaintiffs VA disability to be

attached as Supersedeus Bond.(Exhibit 5).

        12.     On November 2, 2015, the Former Wife filed Petition for Contempt seeking an

increased amount ofthe Plaintiffs VA disability. (Exhibit 6 at I 3a).

       13.      On January 13, 2017, the Plaintiff filed Motion to Dismiss for Lack of Subject

Matter Jurisdiction which the Defendant verbally denied on June 8,2017.(Exhibit 7).

       14.      On June 28, 2017, the Defendant issued order of contempt and judgment of the

Plaintiffs VA disability as payment to the Former Wife.(Exhibit 8).

       15.      On September 19, 2017, the Former Wife filed Process of Garnishment seeking to

garnish VA disability from the Plaintiffs banking accounts. The Plaintiff was not noticed as

required by due process.(Exhibit 9).

       16.      On Novernber 3,2017,the Former Wife filed an additional Process ofGarnishment.

(Exhibit 10).

       17.      On November 22, 2017, unbeknownst to the Plaintiff, the Defendant served the

garnishment filing of September 19,2017,to Hancock Bank for garnishment ofthe Plaintiffs VA

disability and other funds. (Exhibit 11). Upon receipt, Hancock Bank garnished the sum total of

$26,510.39 from the Plaintiffs accounts consisting of the following amounts: a) VA disability

($6,038.18); b) Military retirement ($3,207.29); c) VA education benefits ($4,447.96); and d)

employment income ($12,816.96).
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        18.     On November 29, 2017, upon learning of the garnishment execution, the Plaintiff

advised Hancock Bank ofthe unlawful garnishment of VA disability.(Exhibit 12). On that same

date, Hancock Bank returned the garnished VA disability yet retained the remainder of garnished

employnaent income, military retirement, and VA education benefits pending order from the

Defendant regarding disposition.(Exhibit 13).

        19.    On November 29, 2017, the Plaintiff filed Motion for Immediate Stay and Claim

of Exemption. (Exhibit 14, and Exhibit 15).

       20.     On December 21, 2017, the Defendant refused to grant the Plaintiffs Motion for

Immediate Stay until the Plaintiff posted Supersedeus Bond consisting of VA disability in the

amount of$51,200.00. (Exhibit 16, and Exhibit 17).

VI.    FEDERAL STATUTES

       21.     Under 42 U.S.C. § 1983, every person who under color oflaw subjects, or causes

to be subjected, any citizen within its jurisdiction to the "deprivation of any rights, privileges, or

immunities secured by the Constitution and laws, shall be liable to the party injured in an action at

law, Suit in equity, or other proper proceeding for redress."

       22.     The Fourteenth(14th)Amendment ofthe United States Constitution states'No state

shall make or enforce any law which shall abridge the privileges or immunities of citizens ofthe

United States; nor shall any state deprive any person of life, liberty, or property, without due

process oflaw; nor deny to any person within its jurisdiction the equal protection ofthe laws."

       23.     Under 10 U.S.C. § 1408, state courts are expressly and specifically deprived

authority to divide VA disability as community property. Specifically stated:

                      (c)(1) Subject to the lirnitations of this section, a
                      court may treat disposable retired or retainer pay
                      payable to a member for pay periods beginning after
                      June 25, 1981, either as property solely of the

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                       mernber or as property ofthe member and his spouse
                       in accordance with the law ofthejurisdiction ofsuch
                       court.
                      (a)(4)'Disposable retired or retainer pay' means the
                      total monthly retired or retainer pay to which a
                      member is entitled (other than the retired pay of a
                      member retired for disability under chapter 61 ofthis
                      title) less amounts which...are required by law to be
                      and are deducted from the retired or retainer pay of
                      such member,including...amounts waived in order to
                      receive compensation under title 5 or title 38....
       24.     Under 38 U.S.C. § 5301, state courts are deprived of jurisdiction to assign, or

enforce assigrnnent, of VA disability. Specifically, 38 U.S.C. § 5301(a)(1) states that VA

disability "shall not be assignable and "shall not be liable to attachment, levy, or seizure by or

under any legal or equitable process whatever, either before or after receipt by the beneficiary."

Notwithstanding, 38 U.S.C. § 5301(a)(3)(A) prohibits voluntary assignment of VA disability

stating "such agreement shall be deemed to be an assignment and is prohibited."(Emphasis added).

       25.     Federal and Alabama laws limit state court power to garnish VA disability from a

veteran. Specifically stated:

                      Garnishment actions for VA disability covered under
                      38 U.S.C. § 5301 are limited "to enforce the legal
                      obligation of the individual to provide child support
                      or alimony." 42 U.S.C. § 659(a)

                      "[o]nly that part of the Department of Veterans
                      Affairs payment that is in lieu ofthe waived retired
                      pay or waived retainer pay is subject to
                      garnishment." 5 C.F.R. § 581.103

                      An account holder shall have no requirement to
                      assert any right of garnishment exemption prior to
                      accessing the protected arnount in the account. 31
                      C.F.R. § 212.6(a)




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                       "Benefits and payments ordinarily exempt from
                       garnishment   include,...veterares benefits...".
                       Emphasis added. Ala.R.Civ.P. 64A

VII.   CLAIMS

       27.     The Plaintiff adopts and re-alleges all ofthe above paragraphs as set out in full.

       28.     At all times, the Defendant was knowledgeable that his actions were taken in

 absence of all jurisdiction under color oflaw.

       29.     At all times, the Defendant was knowledgeable that Federal law expressly deprives

 hirn ofjurisdiction to divide VA disability as marital property. See 10 U.S.C. § 1408(c)(1).

       30.     At all times,the Defendant was knowledgeable that Federal law expressly deprives

 him ofjurisdiction and prohibits VA disability from "attachment,levy, or seizure by or under any

 legal or equitable process whatever, either before or after receipt by the beneficiary'. See 38

 U.S.C. § 5301(a)(1)

       31.     At all times, the Defendant was knowledgeable that Federal law deprives him of

jurisdiction to enforce assignment of VA disability in that voluntary assignment "is prohibitee.

 See 38 U.S.C. § 5301(a)(3)(A).

       32.     At all times, the Defendant's repeated actions had no legal basis, were not

supported by any federal or state statute, or legitimate governmental interests or imaginable or

reachable grant ofjurisdiction, and were executed in conscious usurpation of any and all judicial

authority with no substantive legal purpose.

       33.    At all times, the Defendant had the power, ability, authority, and duty to cease

engaging in the unlawful extrajudicial conduct described herein and/or to intervene.

       34.    Despite knowledge, power, and duty, the Defendant purposefully and negligently

failed to act to stop and/or prevent, prohibit or protect deprivation ofthe Plaintiffs rights.



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        35.    Despite knowledge, power, and duty, the Defendant purposefiilly and negligently

 failed to provide the Plaintiff due process oflaw.

        36.    Despite knowledge, power, and duty, the Defendant purposefully and negligently

 failed to provide the Plaintiff equal protection ofthe laws.

       37.     The Defendant currently deprives the Plaintiff of VA disability, pursuant to the

 order of February 18, 2014, which he reinforced on June 28, 2017, that orders the Plaintiff to

 surrender VA disability on a Monthly basis.(Exhibits 3 & 8).

                   COUNT I — DEPRIVATION OF FOURTEENTH(14TH)
                      AMENDMENT RIGHT TO DUE PROCESS

       38.     The Plaintiff adopts and re-alleges all ofthe above paragraphs as set out in full.

       39.     At all times relevant to Count I, the Defendant was acting in absence of all

jurisdiction under color oflaw.

       40.     The Defendant knowingly fthled to provide notice to the Plaintiff of the

garnishment proceeding filed on September 19, 2017. Sniadach v. Family Financial Corp., 395

U.S. 337,23 L. Ed. 2d 349,89 S. Ct. 1820(1969)(Notice is required before a person is deprived

of his or her property interest); see also Premier Health Mgmt. v. Sherling, 100 So. 3d 561 (Ala.

Civ. App. 2012)(Strict compliance with the rules regarding service ofprocess is required).

       41.     On November 22, 2017, the Defendant knowingly deprived the Plaintiff of his

Fourteenth (14th) Amendment right of due process right to be heard in a pre-deprivation hearing

and deprived the Plaintiff of VA disability which is a significant deprivation of rightful property

protected under federal laws. See 38 U.S.C. § 5301(a)(1); see also Mathews v. Eldridge,424 U.S.

319,96 S. Ct. 893(1976)(The essence ofdue process is the requirement that a person in jeopardy

of serious loss be given notice of the case against him and opportunity to meet it); see also

Stallworth v. City ofEvergreen, 680 So. 2d 229 (Ala. 1996)(The essential requirements of due


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process are notice and an opportunity to respond); Ex parte M.F.B., 228 So. 3d 460 (Ala. Civ.

App.2017)(Party has a procedural due-process right to notice ofa proceeding to depiive that party

rights and a right to a pre-deprivation hearing as expeditiously as possible); see also Johnson v.

Ala. Agric. & Mech. Univ.,481 So. 2d 336(Ala. 1985)(Person in jeopardy ofserious loss must be

afforded a meaningful opportunity to present his case); Smith v. McGritf,434 F. Supp. 673(M.D.

Ala. 1976)(Person is jeopardy of serious loss must be given opportunity to be heard).

                 COUNT II — DEPRIVATION OF FOURTEENTH (14th)
              AMENDMENT RIGHT TO EQUAL PROTECTION OF THE.LAW

        42.    The Plaintiff adopts and re-alleges all ofthe above paragraphs as set out in full.

        43.    At all times relevant to Count II, the Defendant was acting in absence of all

jurisdiction under color oflaw.

        44.    The Defendant had filll knowledge that his extrajudicial actions denied the

Plaintiffs Fourteenth (14th) Amendment right of equal protection under the laws, as provided to

other United States and Alabama veterans in similar situation, and were taken without support of

any Federal or State statute. Mansell v. Mansell,490 U.S.581, 109 S. Ct. 2023, 104 L. Ed.2d 675

(1989)("Even these state processes cannot directly attach the military retiree's disability benefits

for purposes ofsatisfying a community property division given the strictures ofthe anti-attachment

provision of 38 U. S. C. § 3101(a)[now 5301(a)]"); see also Howell v. Howell, 137 S. Ct. 1400

(2017);("[Assignment orders regarding VA disability] displace the federal rule and stand as an

obstacle to the accomplishment and execution ofthe purposes and objectives ofCongress. A11 such

orders are thus preempted."); see also Ex parte Billeck, 777 So. 2d 105 (Ala. 2000)(The Mansell

decision and federal law protect VA disability from division or assignment); see also Stone v.

Stone,26 So..3d 1232(Ala. Civ. App.2009)(State courts lack power to distribute VA disability);

see also In re Marriage ofLutes, 2005 MT 242, 328 Mont. 490, 121 P.3d 561 (2005) aflederal


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preemption trumps the District Court's authority to enforce obligation to pay the VA disability

benefits as part ofthe equitable distribution ofthe marital estate under the Agreement and Decree).

        45.    On June 28,2017, the Defendant denied the Plaintiff equal protection of the laws,

as provided to other citizens and veterans in similar situation, when he issued finding of contempt

and order ofjudgment for the Plaintiffs VA disability. (Exhibit 8). Board ofRevenue v. Merrill,

193 Ala. 521 (Ala. 1915)(Denial to defendant charged with violation not with the jurisdiction of

the court to enter motion or answer is a denial of due process of law guaranteed by the 14th

amendment to the Constitution); see also Ryan v. Rvan, 600 N.W.2d 739(Neb. 1999)(Veteran

cannot be held in contempt for failure to pay VA disability to former wife); see also Mattson v.

Mattson 903 N.W.2d 233(Minn. Ct. App.2017)(Federal law preempts state courts from dividing

a veteran's military disability compensation as marital property and renders such property divisions

unenforceable, even if agreed upon).

       46.     On June 28,2017,the Defendant deprived the Plainfiff equal protection ofthe laws,

as provided to other veterans, when he issued order ofjudgment for the Plaintiff's VA disability.

(Exhibit 8). Mansell v. Mansell, 490 U.S. 581, 594-95 (1989); see also Abernethy v. Fishkin,699

So. 2d 235 (Fla. 1997)(A state court may not enforce a property settlement agreement in which

military personnel assign military disability benefits).

       47.     On November 22, 2017, the Defendant deprived the Plaintiff equal protection of

the laws when he unlawfully garnished the Plaintiffs VA disability for distribution to the Forrner

Wife.(Exhibit 12).In re Marriaze ofPierce,982 P.2d 995(Kan. Ct. App. 1999)(State trial courts

have no jurisdiction over disability benefits received by a veteran); Inzinna v. Inzinna, 456 So. 2d

69 (La. Ct App. 5th ,
                    u-‘•rr 1984) writ denied, 461 So. 2d 317 (La. 1984)(Former wife seeking




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partition of comrnunity property was not entitled to any portion of the former husband's

military service pension which constituted disability pay).

        48.     On December 21,2017,the Defendant deprived the Plaintiffequal protection ofthe

laws when he unlawfully levied and attached the Plaintiffs VA disability requiring assignment of

VA disability monies as Supersedeus Bond.(Exhibit 17). 38 U.S.C.§ 5301(a)(1); see also Mansell

v. Mansell, 490 U.S. 581, 109 S. Ct. 2023, 104 L. Ed. 2d 675(1989)("Even these state processes

cannot directly attach the military retirees disability benefits for purposes of satisfying a

community property division given the strictures ofthe anti-attachment provision of38 U. S. C.§

3101(a)[now 5301(a)]")

        COUNT III - DEPRIVATION OF FEDERAL RIGHT TO VA DISABILITY


       49.      The Plaintiff adopts and re-alleges all ofthe above paragraphs as set out in full.

       50.      At all times relevant to Count III, the Defendant was acting in absence of all

jurisdiction under color oflaw.

       51.      The Defendant deprived the Plaintiff of his federal right to VA disability. Hizeins

v. Beyer, 293 F.3d 683 (3d Cir. N.J. 2002)(38 U.S.C.S. § 5301(a) providesi a federal right that is

enforceable under 42 U.S.C.S. § 1983).

              COUNT IV - REFUSING TO PREVENT DEPRIVATION OF RIGHTS

       52.      The Plaintiff adopts and re-alleges all ofthe above paragraphs as set out in full.

       53.      At all times relevant to Count IV, the Defendant was acting in absence of all

jurisdiction under color oflaw.

       54.      The Defendant knowingly and willingly acted in dereliction ofhis duties in refusing

to observe,uphold and enforce unquestionable federal laws enacted to prevent his unlawful actions

to deprive the Plaintiff of Constitutional and Federal rights to VA disability.


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              COUNT IV - ARBITRARY AND IRRATIONAL CLASSIFICATION

        55.    The Plaintiff adopts and re-alleges all ofthe above paragraphs as set out in full.

        56.    At all times relevant to Count IV, the Defendant was acting in absence of all

jurisdiction under color oflaw.

       57.     The Defendant arbitrarily and irrationally singled-out the Plaintiff, among the class

of over 21.8 million United States and 400,000 Alabama veterans, to knowingly and

indiscriminately apply incongruous and disparate treatment to deny, or fail to protect, the

Plaintiffs rights as provided to countless other veterans in similar circumstance. Clauson v.

Clauson, 831 P.2d 1257(Alas. 1992); see also Ashley v. Ashlev, 990 S.W.2d 507(Ark. 1999); see

also In re Marriaze of Wojcik, 838 N.E.2d 282 (Ill. App. Ct. 2005); see also In re Marriage of

Pierce, 982 P.2d 995 (Kan. Ct. App. 1999); see also Wright v. Wright, 594 So.2d 1139(La. Ct.

App. 1992); see also Kramer v. Kramer, 567 N.W.2d 100 (Neb. 1997); see also Youngbluth v.

Younzbluth, 6 A.3d 677(Vt. 2010); see also Mallard v. Burkart,95 So. 3d 1264(Miss. 2012); see

also Abernethy v. Fishldn, 699 So. 2d 235 (Fla. 1997).

                   COUNT V - INFLICTION OF EMOTIONAL DISTRESS

       58.     The Plaintiff adopts and re-alleges all ofthe above paragraphs as set out in full.

       59.     At all times relevant to Count V, the Defendant was acting in absence of all

jurisdiction under color oflaw.

       60.     The Defendant knew or reasonably should have known that his actions described

herein would and did result in physical, psychological, and emotional distress to the Plaintiff

       61.     The Defendant knew or reasonably should have known that his actions described

herein would and did result in undue and unnecessary financial hardship to the Plaintiff.




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        62.    The Defendant had full knowledge that his actions were of no legitimate or

substantive legal basis but were gratuitous to inflict severe emotional distress causing the Plaintiff

to suffer extreme bouts of depression, anxiety, and panic that were unwarranted and avoidable had

the Defendant enforced the Plaintiff's Constitutional and Federal rights under equal protection of

the laws.

                COUNT VI - UNBRIDLED USURPATION OF JURISDICTION

       63.     The Plaintiff adopts and re-alleges all ofthe above paragraphs as set out in full.

       64.     At all times relevant to Count VI, the Defendant was acting in absence of all

jurisdiction under color oflaw.

       65.     The Defendant unlawfully intimidated and coerced the Plaintiff, with threat of

incarceration, to enforce assignment ofthe Plaintiffs VA disability. Howell v. Howell, 137 S. Ct.

1400(U.S. May 15,2017)(State courts cannot vest that which(under governing federal law)they

lack the authority to give). No Federal or State statute confers jurisdiction upon the Defendant to

assign, or enforce assignment of, VA disability.      Campbell v. Taylor, 159 So. 3d 4(Ala. July 3,

2014).(A circuit court's subject-matter jurisdiction is derived from the Alabama ConStitution and

the Alabama Code.).

                                    PRAYER FOR RELIEF

       WHEREFORE, by reason of the foregoing, the Plaintiff respectfully avers the following

and prays of this Honorable Court to enterjudgment as follows:

       A.      The U.S. Supreme Court has long held that federal courts may grant injunctive

relief against state officers who are violating, or planning to violate, federal law. Osborn v. Bank

of United states, 22 U.S. 738,9 Wheat. 738, 838-839,844,6 L. Ed. 204(1824)(Because the state

law authorizing defendants to seize the money was unconstitutional and void, the circuit court



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correctly ordered defendants to repay the money with interest); see also Strawser v. Strange, 105

F. Supp. 3d 1323(S.D. Ala. 2015)(It is true enough that we have long held that federal courts may

in some circumstances grant injunctive relief against state officers who are violating, or planning

to violate, federal law. Injunction granted).

        B.      Enter an order for immediate preliminary injunction to the Defendant restraining

his involvement in any and all litigation regarding the Plaintiff. Ex parte Mune,209 U.S. 123,28

S. Ct.441 (1908)(The circuit courts ofthe United States will restrain a state officer when it would

violate rights and privileges of the complainant which had been guaranteed by the Constitution,

and would work irreparable damage and injury to him); see also Strawser v. Stranee, 105 F. Supp.

3d 1323(S.D. Ala. 2015)(A district court may grant a preliminary injunction only if the plaintiff

demonstrates each of the following prerequisites: (1) a subStantial likelihood of success on the

merits,(2) a substantial threat irreparable injury will occur absent issuance of the injunction,(3)

the threatened injury outweighs the potential damage the required injunction may cause the non-

moving parties, and (4)the injunction would not be adverse to the public interest).

        C.      Enter declaratory judgment holding that the actions of the Defendant, described

herein above, violated the Plaintiff's Fourteenth (14th) Amendment rights and Federal right to VA

disability.

       D.       Enter permanent injunction enjoining the Defendant from any and all future

litigation involving the Plaintiff.

        E.      Enter a permanent injunction enjoining the Defendant from decisions, procedures,

and practices which involve the Plaintiffs, or any veteran's, VA disability.

       F.      Enter an Order admonishing the Defendant for failure to adopt and enforce federal

laws and for actions committed in absence of all judicial authority, under color oflaw, to deprive



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the Plaintiff of rights, privileges, protections, compensations and entitlements guaranteed under

the United States Constitution and Federal laws.

        G.     Enter an Order requiring the Defendant to make the Plaintiff whole by awarding

damages for loss of VA disability, plus interest.

       H.      Award the Plaintiff compensatory and punitive damages against the Defendant in

his individual capacity for violations stated herein.

       I.      The Plaintiff further prays for such other relief and benefits as the cause ofjustice

may require, including, but not limited tõ, an award of all costs, attortiey fees and expenses in the

effOrts to recovet rights deprived by the Defendant.

       J.      Retaining jurisdiction over this action until the Defendant has fully complied with

the orders of this Honorable Court.


       Respectfully submitted, this the 11th day ofDecember, 2018.




                                              Melissa L. Isaak
                                              Attorney for Timothy W.Tarver
                                              The Isaak Law Firm
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                                CERTIFICATE OF SERVICE.

        I hereby certify that a copy ofthe foregoing has been furnished by private process service
on this the 11th day ofDecember,2018.

Hon. Sibley G. Reynolds
500 2nd Ave. N.
Clanton, Alabama 35045




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